Case 3:24-cv-01762-OAW Document16-10 Filed 11/15/24 Pagetlof2

State of Connecticut

Lookup Detail View

Name and Address

Name Address

MARK R LIONETTI 376 WEST AVE
STAMFORD, CT 06902-6329

Credential Information

First Issuance

Date On Effective Expiration
Credential Credential Type Record Date Date Status
PLM.0280113- | PLUMBING & PIPING LIMITED CONTRACTOR 04/12/2000 11/01/2022 | 10/31/2023 | INACTIVE

SP1
The holder of this license may perform swimming pool maintenance and
repair work as defined in section 20-417aa of the Connecticut General
Statues. The requirements to qualify for this license exam shall be two (2)
years as a properly licensed journeyman or equivalent experience and
training.

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Case 3:24-cv-01762-OAW Document16-10 Filed 11/15/24 Page 2of2

State of Connecticut

Lookup Detail View

Name and Address
Name DBA | Address

LEGACY RENOVATIONS & POOL SERVICE INC 21 DIAMOND AVE
BETHEL, CT 06801-8009

Complaints

Notes

No complaints on record

Registration Information

Registration | Registration Type Issue Date | Expiration Date | Status

HIC.0698619 | HOME IMPROVEMENT CONTRACTOR | 05/29/2024 | 03/31/2025 ACTIVE

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